CaSe 2:05-cr-2025E|1\ISleE Di@§@@!§n§@ng§egp§.,l/[W@§ g@§§,€. of 2 Page|D 32
FOR THE wEsTERN DIsTRIcT oF TENNESSEE

 

wEsTERN DIVISION FLEUEW,AMQV no
UNITED sTATEs oF AMERICA OSJULQO hH'l:ZB
v. No. 05~20251-02-%&§1"59;;

    

GEORGE ARDS 'MHM

 

ORDER CONTINUING A.'R.`RAIGNMENT A.N'D
SPECIFYING PERIOD OF EXCLUDA.BLE DELA`Y UNDER THE SPEED'Y TRIAL ACT

 

Due to a conflict With the defendant's counsel, in which a
motion to withdraw has been filed, and in the interests of justice
that this matter be continued. Pursuant to the Speedy Trial Act,
as set in 18 U.S.C. §316l(h)(8)(A), defendant's period of
excludable delay may be granted if the ends of justice are served.

The Arraignment is therefore continued and reset to Wednesday,
July 27l 2005 @ 10:00 a.m. in Courtroom_f§__, Federal Building, 167
N. Main Street, Memphis, Tennessee.

It is therefore ORDERED that the time period of 7[20[05
through, 7[26[05 be excluded from the time its imposed by the
Speedy Trial Act for trial of this case, due to the interests of
justice.

-}v\
This 57() day of July, 2005.

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Diane K. Vescovo
UNI'I‘ED STATES MAGISTRATE JUDGE

This dch ment entered on the docket sheet in complies s
wrtiw H.llr 55 and/cr 32fb) FHCrP 011 w DZ?

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

